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  5   1063 E. Las Tunas Dr.
      San Gabriel, CA 91776
  6   Tel: (626)281-1232
      Fax: (626)281-2919
  7
  8   Proposed Counsel for Jinzheng Group (USA) LLC
      Debtor and Debtor-in-Possession
  9
 10                            UNITED STATES BANKRUPTCY COURT

 11              CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 12
 13    In re                                              Case No. 2:21-bk-16674-ER

 14                                                       Chapter 11
       JINZHENG GROUP (USA) LLC
 15                                                       STIPULATION TO CONTINUE
 16                                                       HEARING DATES
                   Debtor and Debtor in Possession.
 17                                                       Current Hearing:
                                                          Date:        March 22, 2022
 18                                                       Time:        10:00am
                                                          Location:    Courtroom 1568
 19                                                                    255 E. Temple St.
 20                                                                    Los Angeles, CA 90012
                                                          Proposed Continued Hearing:
 21                                                       Date:        May 4, 2022
                                                          Time:        10:00am
 22                                                       Location:    Courtroom 1568
                                                                       255 E. Temple St.
 23
                                                                       Los Angeles, CA 90012
 24
 25
 26         The Parties, who are Jinzheng Group (USA) LLC (“Debtor”), Official Committee of

 27   Unsecured Creditors (“Committee”), and the United States Trustee (“UST”) by and through their

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  1   respective attorneys, agree and stipulate to the following:
  2                                                 Recitals
  3            Whereas, on January 25, 2022, the United States Trustee (“UST”) filed a notice
  4   appointing the Committee.
  5            Whereas, on February 8, 2022, Pachulski Stang Ziehl & Jones LLP filed an Application for
  6   an Order Authorizing and Approving its Employment as Counsel for the Committee. (Docket
  7   entry 98).
  8            Whereas, on February 22, 2022, Debtor filed a notice of Objection and Request for hearing
  9   on the Employment application of Pachulski Stang Ziehl & Jones LLP, which was subsequently
 10   set for hearing on March 22, 2022. (Docket entry 125).
 11            Whereas on March 1, 2022, Debtor filed a Motion to Change Membership and Disband
 12   Official Committee of Unsecured Creditors pursuant to 11 USC §§ 1102(a)(4) and 105(a).
 13   (Docket entry 135).
 14            Whereas on March 1, 2022, Committee filed a Motion to for the Appointment of a Chapter
 15   11 Trustee, or in the Alternative Termination of Plan and Solicitation Exclusivities and
 16   Authorizing Standing of the Committee to Prosecute Actions against the Insiders of the Debtor.

 17   (Docket entry 136).
 18                                                Stipulation
 19            The Debtor, Committee and UST are in communication to resolve the pending Motions,
 20   and in order to avoid any unnecessary incursion of administrative fees stipulate and agree as
 21   follows:
 22       1.       The Hearing on the Motion to Disband the Committee shall be continued from March

 23                22 to May 4, 2022, at 10:00 a.m. The opposition and reply deadlines shall be adjusted
 24                to conform with regular deadlines based on the continued hearing date.
 25       2.       The Hearing on the Motion to the Committee’s Motion to Appoint a Trustee, etc. shall
 26                be continued from March 22 to May 4, 2022, at 10:00 a.m. The opposition and reply
 27                deadlines shall be adjusted to confirm with regular deadlines based on the continued
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                                                        2
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  1               hearing date.
  2       3.      The Hearing on the Employment Application of Pachulski Stang Ziehl & Jones LLP
  3               shall be continued from March 22 to May 4, 2022, at 10:00 a.m. The reply deadline
  4               shall be adjusted to conform with the regular deadline based on the continued hearing
  5               date.
  6
  7   SO, STIPULATED
  8   Dated: March 14, 2022                        SHIODA, LANGLEY & CHANG LLP
  9
                                                  _/s/Christopher Langley___
 10
                                                  By: Christopher J. Langley
 11                                               Counsel for Debtor and Debtor in Possession

 12
      Dated: March 14, 2022                        PACHULSKI STANG ZIEHL & JONES LLP
 13
 14
                                                  ___________________________________
 15                                               By: Robert Saunders
                                                  [Proposed] Counsel to the Official Committee of
 16
                                                  Unsecured Creditors
 17
 18   Dated: March 14, 2022                        UNITED STATES TRUSTEE

 19
 20                                               ______________________________
                                                  By: Hatty K. Yip
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  1             currently set for hearing on March 22, 2022 shall be continl,led from March 22 to May

  2             4, 2022, at 10:00am. The opposition and rely deadlines shall be adjusted to confirm

  3             with regular deadlines based on continued hearing date.

  4

  5   SO, STIPULATED

  6
      Dated: March 14, 2022                      SHIODA, LANGLEY & CHANG LLP
  7

  8
                                                By: Christopher J. Langley
  9                                             Counsel for Debtor and Debtor in Possession

 10
      Dated: March 14, 2022                      PACHULSKI STANG ZIEHL & JONES LLP
 11

 12

 13                                             By: Robert Saunders
 14                                             [Proposed] Counsel to the Official Committee of
                                                Unsecured Creditors
 15

 16   Dated: March 14, 2022                      UNITED STATES TRUSTEE

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  1                                     PROOF OF SERVICE OF DOCUMENT

  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 4158 14th Street, Riverside, CA 92501
  3
      A true and correct copy of the foregoing document entitled (specify): STIPULATION TO CONTINUE
  4   HEARING DATES will be served or was served (a) on the judge in chambers in the form and manner
      required by LBR 5005-2(d); and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) March 14, 2022, I checked the CM/ECF docket for this bankruptcy
  7   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
  8
          •   Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
  9       •   Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
          •   Susan Titus Collins scollins@counsel.lacounty.gov
 10       •   Richard Girgado rgirgado@counsel.lacounty.gov
          •   M. Jonathan Hayes jhayes@rhmfirm.com,
 11           roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfi
              rm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
 12       •   Christopher J Langley chris@slclawoffice.com,
              omar@slclawoffice.com;langleycr75251@notify.bestcase.com
 13       •   Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
          •   Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
 14       •   Giovanni Orantes go@gobklaw.com, gorantes@orantes-
              law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.
 15           bestcase.com
          •   Matthew D. Resnik matt@rhmfirm.com,
 16           roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rh
              mfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;slo
              an@rhmfirm.com
 17
          •   Allan D Sarver ADS@asarverlaw.com
 18       •   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
          •   Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov
 19
                                                       Service information continued on attached page
 20   2. SERVED BY UNITED STATES MAIL:
      On (date) March 14, 2022, I served the following persons and/or entities at the last known addresses in this
 21   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
 22   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 23
      Honorable Ernest M. Robles
 24   Edward R. Roybal Federal Building and Courthouse
      255 E. Temple Street, Suite 1560 / Courtroom 1568
 25   Los Angeles, CA 90012

 26                                                    Service information continued on attached page

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      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
  1   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) March 14, 2022, I served the following persons and/or entities by personal delivery, overnight mail
  2   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
  3   mail to, the judge will be completed no later than 24 hours after the document is filed.

  4
                                                         Service information continued on attached page
  5
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  6
        March 14, 2022           John Martinez                               /s/John Martinez
  7     Date                     Printed Name                                Signature

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